






	





NUMBER 13-09-00202-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      

							 

JOHN GILBERT SALAZAR,			   			 Appellant,


v.


THE STATE OF TEXAS,					        	 	  Appellee.

                                                                                                                                      


On appeal from the 156th  District Court

of Bee County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion by Justice Garza
	On August 16, 2007, appellant, John Gilbert Salazar, was charged by indictment
with two counts of indecency with a child by touching, a second-degree felony, and two
counts of an improper relationship between an educator and a student, also a second-degree felony.  See Tex. Penal Code Ann. §§ 21.11(a)(1), (d) (Vernon 2003), 21.12(a)-(b)
(Vernon Supp. 2008).  Pursuant to a plea agreement with the State, Salazar pleaded guilty
to the two counts of indecency with a child, and the State agreed to dismiss the remaining
two counts alleged in the indictment.  The trial court accepted Salazar's plea, deferred an
adjudication of guilt, placed him on five years' community supervision, and imposed a
$5,000 fine.

	Subsequently, on January 27, 2009, the State filed a motion to revoke Salazar's
community supervision, alleging that Salazar:  (1) failed to complete the Sex Offender
Group Therapy Program; (2) failed to pay a statutory supervisory fee of $60.00 per month
and the $5,000 fine in the amount of $160.00 per month; and (3) disobeyed a court order
to remain more than 1,000 feet of any public or private school, public park, or place of
business intended to service the needs of children under eighteen years of age.  The trial
court conducted a hearing on the State's motion to revoke on March 3, 2009.  At the
hearing, Salazar, after being admonished, pleaded "true" to the allegations contained in
the State's motion to revoke.   

	The trial court concluded that Salazar had violated the terms of his community
supervision, revoked his community supervision, and sentenced him to ten years'
incarceration in the Institutional Division of the Texas Department of Criminal Justice for
each count. (1)  A $5,000 fine was imposed as to only one of the counts, and the trial court
ordered that the incarceration terms run concurrently.  The trial court also certified
Salazar's right to appeal his sentence, and Salazar now brings this appeal.  We affirm.  

I. Anders Brief

	Pursuant to Anders v. California, 386 U.S. 738, 744 (1967), Salazar's
court-appointed appellate counsel has filed a brief with this Court, stating that her review
of the record yielded no grounds or error upon which an appeal can be predicated.
Counsel's brief meets the requirements of Anders as it presents a professional evaluation
demonstrating why there are no arguable grounds to advance on appeal.  See In re
Schulman, 252 S.W.3d 403, 407 n.9 (Tex. Crim. App. 2008) ("In Texas, an Anders brief
need not specifically advance 'arguable' points of error if counsel finds none, but it must
provide record references to the facts and procedural history and set out pertinent legal
authorities.") (citing Hawkins v. State, 112 S.W.3d 340, 343-44 (Tex. App.-Corpus Christi
2003, no pet.)); Stafford v. State, 813 S.W.2d 503, 510 n.3 (Tex. Crim. App. 1991).  

	In compliance with High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. [Panel Op.]
1978), Salazar's appellate counsel has carefully discussed why, under controlling authority,
there are no errors in the trial court's judgment.  Counsel has informed this Court that she
has:  (1) examined the record and found no arguable grounds to advance on appeal, (2)
served a copy of the brief and counsel's motion to withdraw on Salazar, and (3) informed
Salazar of his right to review the record and to file a pro se response. (2)  See Anders, 386
U.S. at 744; Stafford, 813 S.W.2d at 510 n.3; see also In re Schulman, 252 S.W.3d at 409
n.23.  More than an adequate period of time has passed, and Salazar has not filed a pro
se response.  See In re Schulman, 252 S.W.3d at 409.

II. Independent Review

	Upon receiving an Anders brief, we must conduct a full examination of all the
proceedings to determine whether the case is wholly frivolous.  Penson v. Ohio, 488 U.S.
75, 80 (1988).  We have reviewed the entire record and counsel's brief and have found
nothing that would arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824,
826-28 (Tex. Crim. App. 2005) ("Due to the nature of Anders briefs, by indicating in the
opinion that it considered the issues raised in the briefs and reviewed the record for
reversible error but found none, the court of appeals met the requirement of Texas Rule
of Appellate Procedure 47.1."); Stafford, 813 S.W.2d at 509. 

III. Motion to Withdraw

	In accordance with Anders, Salazar's attorney has asked this Court for permission
to withdraw as counsel.  See Anders, 386 U.S. at 744; see also In re Schulman, 252
S.W.3d at 408 n.17 (citing Jeffery v. State, 903 S.W.2d 776, 779-80 (Tex. App.-Dallas
1995, no pet.) (noting that "[i]f an attorney believes the appeal is frivolous, he must
withdraw from representing the appellant.  To withdraw from representation, the appointed
attorney must file a motion to withdraw accompanied by a brief showing the appellate court
that the appeal is frivolous") (citations omitted)).  We grant counsel's motion to withdraw. 
Within five days of the date of this Court's opinion, counsel is ordered to send a copy of
the opinion and judgment to Salazar and to advise Salazar of his right to file a petition for
discretionary review. (3)  See Tex. R. App. P. 48.4; see also In re Schulman, 252 S.W.3d at
412 n.35; Ex parte Owens, 206 S.W.3d 670, 673 (Tex. Crim. App. 2006). 								

											

							DORI CONTRERAS GARZA

							Justice	


Do Not Publish. 

Tex. R. App. P. 47.2(b)

Memorandum Opinion delivered and 

filed this the 15th day of October, 2009. 
1.  The punishment range for a second-degree felony is imprisonment "for any term of not more than
20 years or less than 2 years" and an optional fine not to exceed $10,000.  See Tex. Penal Code Ann. § 12.33
(Vernon 2003).
2.  The Texas Court of Criminal Appeals has held that "the pro se response need not comply with the
rules of appellate procedure in order to be considered.  Rather, the response should identify for the court
those issues which the indigent appellant believes the court should consider in deciding whether the case
presents any meritorious issues."  In re Schulman, 252 S.W.3d 403, 409 n.23 (Tex. Crim. App. 2008) (quoting
Wilson v. State, 955 S.W.2d 693, 696-97 (Tex. App.-Waco 1997, no pet.)).
3.  No substitute counsel will be appointed.  Should Salazar wish to seek further review of this case by
the Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary review
or file a pro se petition for discretionary review.  Any petition for discretionary review must be filed within thirty
days from the date of either this opinion or the last timely motion for rehearing that was overruled by this Court. 
See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed with this Court, after which it will
be forwarded to the Texas Court of Criminal Appeals.  See Tex. R. App. P. 68.3; 68.7.  Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 68.4.


